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os U.S. Department of Justice

 

United States Attorney
Southern District of New York

 

The Silvio J. Mollo Building
One Saint Andrew’s Plaza
New York, New York 10007

November 2, 2020

Hon. Alvin K. Hellerstein
United States District Court
500 Pearl Street

New York, New York 10007

Re: United States v. Jesse Phillips, 20-cr-345 (AKH)

Dear Judge Hellerstein:

This Court held an initial pretrial conference in the above-captioned case on August 31,
2020. At that conference, the parties and the Court discussed scheduling another pretrial
conference for approximately 60 days after the August 31, 2020 conference. The Government
respectfully requests that the Court schedule a remote status conference in this case for November
17, 2020 at 9:00 a.m. The Government also respectfully requests that time under the Speedy Trial
Act be excluded from the date of this letter until that conference, so the parties can prepare for
potential motion practice and discuss a potential pretrial resolution to the case.

Respectfully submitted,

AUDREY STRAUSS
Acting United States Attorney

by: fot x

 

Thomas S. Burnett
Assistant United States Attorney
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